Case 1:24-cv-00045-AW-ZCB Document 8-7 Filed 03/26/24 Page 1 of1

1 0 0 Department of the Treasury—Intemal Revenue Service
e 4 U.S. Individual Income Tax Return 2022

Filing Status [x] Single [_] Married filing jointly [_] Married filing separately (MFS) [_] Head of household (HOH) [_] Qualifying surviving

OMB No. 1545-0074 | IRS Use Only—Do not write or staple in this space.

Check only spouse (QSS)
one box. lf you checked the MFS box, enter the name of your spouse. If you checked the HOH or QSS box, enter the child’s name if the qualifying
person is a child but not your dependent:
Your first name and middle initial Last name Your social security number
JEREMY HALES
If joint return, spouse's first name and middle initial Last name Spouse's social security number
Home address (number and street}. If you have a P.O. box, see instructions. Apt. no. Presidential Election Campaign
2436 WEST STREETSBORO RD Check a if you, ay Ce Ba
: ico : low. Pp spouse if filing jointly, wan
City, town, or post office. If you have a foreign address, also complete spaces below State ZIP code to go to this fund. Checking a
PENINSULA OH 44264 box below will not change
Foreign country name Foreign province/state/county Foreign postal code | your tax or refund.
[]¥ou [_] Spouse
Digital At any time during 2022, did you: (a) receive (as a reward, award, or payment for property or services); or (b) sell,
Assets exchange, gift, or otherwise dispose of a digital asset (or a financial interest in a digital asset)? (See instructions.) _] Yes No

Standard Someonecanclaim: [_] You as a dependent L_] Your spouse as a dependent
Deduction [] Spouse itemizes on a separate return or you were a dual-status alien

Age/Blindness You: LF Were born before January 2, 1958 Ol Are blind Spouse: CL Was born before January 2, 1958 CF ls blind

Dependents (see instructions): (2) Social security (3) Relationship | (4) Check the box if qualifies for (see instructions):
if more (1) First name Last name number to you Child tax credit Credit for other dependents
than four fe] E]
dependents,
see instructions O O
and check EI L]
here fi] E]
Income da Total amount from Form(s) W-2,box 1(seeinstructions) . 2. . . . . . ee eee —
b Household employee wages not reported on Form(s) W-2.. 2. we wee le ib
ocho kee ¢ Tip income not reported on line 1a (see instructions) . . . . Coe ic
attach Forms d= Medicaid waiver payments not reported on Form(s) W-2 (see reaructonis) ee id
W-2G and e Taxable dependent care benefits from Form 2441,line26 2 ww ln je
ee f Employer-provided adoption benefits from Form 8839, line?9 . . . . 2. ew ee ke tf
if you did not g@ WagesfromFormé9i9,lineG 2 2 2. ee ig
get a Form h Otherearned income (seeinstructions) . . . 1. 1. ke ee ee ih Gs
W-2, see . . i 7 .
fnatructiditg, i Nontaxable combat pay election (see instructions) . . . . . . . | di |
o—————.._2. Add lines 1a through 1h i = fe - BR RRR Eth ER Be PS # He # 1z +
Attach Sch. B 2a Tax-exemptinterest. . . 2a b Taxableinterest . . . . . 2b SS.
if required. 3a Qualifieddividends . . . 3a b Ordinary dividends. . . . . 3b
4a |RAdistributions . . . . da b Taxable amount. . . . . . 4b
Standard 5a Pensions andannuities . . 5a b Taxableamount. . . . . . 5b
a for—| 6a Social security benefits . . | 6a b Taxableamount. . . . . . | 6b
*Si
Tiarted filing c¢ If you elect to use the lump-sum election method, check here (see instructions) .o
cue 7 Capital gain or (loss). Attach Schedule D if required. If not required, check here .o T
* Married filing 8 Other income from Schedule 1,line 10. .; Sk 8
joint|
Qualifying 9 Add lines 1z, 2b, 3b, 4b, 5b, 6b, 7, and 8. This is your total i Incomes: vos e FA 2 Ba 4 9
surviving Spouse.’ 4Q Adjustments to income from Schedule 1,line26 9. 1 wk ke ee 10
* Head of | 11 Subtract line 10 from line 9. This is youradjusted grossincome . . ....... ~~. 11
9400 12 Standard deduction or itemized deductions (from ScheduleA) . 2 . 2 . . . . . . | 12
*lfyou checked | 13 Qualified business income deduction from Form 8995 or Form 8995-4. 2. | ww ke kk 13
Seen | 44 Addlines12and13. . . ek aa x be
Deduction, | 15 Subtract line 14 from line 11. If zero or less, enter -0-. This | is your ‘abled income .... . 15 iz
see instructions.

For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions. Forn 1040 (2022)
